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A0245B (Rev. l lf16) .Tudgment in a Criininal Case
Sheet l

UNITED STATES DISTRICT CoURT
Western District of Washington ‘

 

 

 

UNITED STATES OF \AMERICA JUI)GMENT'IN A CRIMINAL CASE
v.
BALTAZAR REYES GARCIA Case Number: 2116CRO(]287JLR-()03

USM Numbei‘: 53687-048

Stephan R. Illa
Defendant’s Attoi'ney
THE DEFENI)ANT:

|:| pleaded guilty to count(s)
|:| pleaded nolo contendere to count(s)
which was accepted by the court -` ij

Was found guilty on count(s) l, 5, 6 and 9 of the Second Superseding Indictment
after a plea of not guilty.

 

 

The defendant is adjudicated guilty of these offenses:

_Title & Section Nature of Offense Offensc Ended Count

21 U.S.C. §34l(a)(1), Conspiracy to Distribute Controlled Substances ll!?./ 16 1

84l(h)(l)(A), and 846

21 U.S.C. §84l(a)(1) and Distribution of Methamphetamine 11/2-/16 5, 6, and 9
' 841(b)(l)(A) _

The defendant is sentenced as provided in pages 2 through 7 of this judgment The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

|:| The defendant has been found not guilty on count(s) .
|:l Count(s) l:| is |:l are dismissed on the motion of the United States. _
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of nanie, residence,

or mailing address until all fines, restitution, costs, and_ special assessments imposed by this judgment are _fu-lly paid. If ordered to pay
restitution, the defendant must notify the court and United States Attoriiey of material changes in economic circumstances

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` t‘t Attcmcy

Assistant)(§i{ = .;-.
\ _’?., \‘t ...s
Date fImposi'tion fJudgment §l& X'
, ‘\_j\/\r\_ v/\.“.. w M

S ignature Bf Judge

The Honorable James L. Rohai‘t
United St_ates District Judge
Name and Title of J_lidge

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A0245B (Rev. lll'16) Judginent in a Criminal Case
Sheet 2 - Im risonment

 

 

Judgmen`t _ Page 2 of 7

DEFENDANT: BALTAZAR REYES GARCIA
CASE NUMBER: 2:16CR00287JLR-003

IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
ll la ~N\ ow-\¢\\;, e.$\¢\ emma `\, “~>'."{Q», O\ veon

iii The court makes the following recommendations to the Bureau of Prisons: 3

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H

The defendant is remanded to the custody of the United States Marshal.

l:| The defendant shall surrender to the United States Marshal for this district:
|:l at |:| a.m. |:| p.m. on
l:| as notified by the United States Marshai.

 

|:| The defendant shall surrender for service of sentence -at the institution designated by the Bureau of Prisons:
|:l before 2 p.m. on
|:| as notified by the United States Marshal.

l:l as notified by the Probation or Pi'etrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , With a certified copy of this judgment
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

 

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A0245B (Rev. 1 1/16) Juclgment in a Criminal Case
Sheet 3 _ Supervised Release

 

 

Judgment _ Page`S of 7
DEFENDANT: BALTAZAR REYES GARCIA

CASE NUMBER: 2:16CR00287]LR-003
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of : _
g U\BQ.WM
MANDATORY CON])ITIONS

1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance

3. You must refrain from any unlawful use of a-controll_ed substance._ You must submit to one dru test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by t e court

l:| The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of
future substance abuse. (checky”appiicab!e)

4. |:| You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
of restitution (check yapplimb!e)

5 . You must cooperate in the collection of DNA as directed by the probation lofticer. (check yamicabla)
|:|

You must comply with the requirements o_f the Sex Offender Registrat_ion and Notification Act (42 U.S.C.
§ 16901, er seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
agency in which you reside, work, are a student, or were convicted of a qualifying offense (check rapplr'cable)

7. l:l You must participate in an approved program for domestic violence (check yagciicable)

You must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on t e attached pages

 

 

 

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AO245B (Rev. ll/lé) ludgrrient in a Criminal Case
Sheet 3A _ Supervised Release

 

 

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DEFENDANT: BALTAZAR REYES GARCIA

CASE NUMBER: 2:16CR00287JLR-003
STANDARD CONDITIONS`OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
the minimum too s needed by probation officers to keep informed, report to the court about, and bring about improvements
in your conduct and condition

1. You must report to the probation office in the federaljudicial district where you are authorized to reside within 72 hours
of your release from im risonment, unless the probation officer instructs you to report to a different probation office or
within a different time rame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
how and when you must report to the probation officer, and you must report to the probation officer as instructed

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
permission from the court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to chan e where ou live or anything about your
living arrangements 1gsuch as the pepple you live with), you must notify the pro aticn of icer at least 1 days before the
change. Ifnoti ing e robation o icer in advance is not ossible due to unantici ated circumstances you must notify
the probation o ficer wit in 72 hours of becoming aware o a change or expected c ange.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work iiill time (at least 30 hours per week) at a lawful type of employment unless the probation officer
excuses you from doing so. If you do not have full-time employment you must try to find full-time employment unless
the probation officer excuses you from doing so. If you plan to changle where you work or anything about your work
(such as your position or your job res onsibi ities), you must notify t e probation officer at least 10 days before the
change. If notifying the probation of icer at least 10 days in advance is not possible due to unanticipated circumstances
you must notify the probation officer within 72 hours of becoming aware o a change or expected change

8. You must not communicate or interact with someone you know is engaged in criminal activity. if you know someone
has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
the permission of the probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a 'firearm, ammunition destructive device, o_r dangerous weapon (i.e.,
anything that was-designed, or was modified for, the specific purpose of causing bodily injury or death to another person
such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court

12-. If the probation officer determines that you pose a risk to another person (including an organization), the probation
officer may require you to notify the person about the risk and ou must comply with that instruction The probation
officer may contact the person and confirm that you have noti ied the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supeivision.

U.S. Probation Office Use Only

A U.S._probation officer has instructed me on the conditions specified by the court and.has provided me with a written copy

of this judgment containing these conditions For further information regarding these conditions, see Overvi`cw ofProl)crtion
and Supervz'scd Relacise Condiitons, available at www.uscourts.gov. 7

Defendant’s Signature Date

 

 

 

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Sheet 3D _ Supervised Release
Judgment_Page 5 of 7

DEFENDANT: BALTAZAR REYES GARCIA
CASE NUN[BER: 2:16CR00287]LR-003

SPECIAL CONDITIONS OF SUPERVISION

l. The defendant shall participate as directed in an education program approved by the U.S. Probatifon
Officer. The defendant must contribute towards the cost of any programs; to the extent the defendant
is financially able to do so, as determined by the U.S. Probation Officer.

2. The defendant shall provide the probation officer with access to any requested financial information '
including authorization to conduct credit checks and obtain copies of the defendant's federal income
tax returns.

3. If deported, the defendant shall not reenter the United States without permission of the Secretary of
the Department of Homeland Security. If granted permission to reenter, the defendant shall contact
the nearest U.`S. Probation Office_ within 72 hours of reentry.

4. The defendant shall submit his or her person, property, house, residence, storage unit, vehicle,
papers, computers (as. defined in 18 U.S.C.§iO?)O(e)(l)), other electronic communications or data
storage devices or media, or office, to a search conducted by a United States probation officer, at a
reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or
evidence of a violation of a condition of supervision Failure to submit to a search may be grounds for
revocation The defendant shall warn any other occupants that the premises may be subject to
searches pursuant to this condition

 

 

 

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A0245B (Rev. l 1/16) Judgment in a Criminal Case
_ SheiS_- Criminal Monetai_‘y Pena|ties

DEFENDANT: BALTAZAR REYES GARCIA
CASE NUi\/IBER: 2:16CR00287JLR-003

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Judgment _ Page 6 of 7

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 400 N/A Waived Ni'A
|:l The determination of restitution is deferred until . An Amended Jndgment in a Crimin'cil Ccise (AO 245€)

will be entered after such determination

|:\ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1.), all nonfederal
victims must be paid before tiie United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

 

TOTALS $ 0.00 $ 0.00 '

|:l Restituticn amount ordered pursuant to plea agreement $

 

l:l The defendant must pay interest on restitution and a fine of more than $2.,500, unless the restitution or fine is paid in full before
the fifteenth day after the date of the judginent, pursuant to 18 U.S.C. § 3612(1"). -All of the payment options on Sheet 6 may be
subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

l:| The court determined that the defendant does not have the ability to pay interest and it is ordered that:

l:l the interest requirement is waived for tiie ij fine [:l restitution
l:l the interest requirement for the [:l fine l:l restitution is modified as follows:

The court finds the defendant is financially unable and is unlikely to become able to pay a` fine and, accordingly, the imposition
of a fine is waived.

f Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*'* Findin_gs for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 13 for
offenses committed on or after Septeinber 13, 1994, but before Apri123, 1996.

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A0245B (Rev. 1 1}l6) ludgment in a Criininal Case
Sheet 6 _ Schedule of Payments

___

DEFENDANT: BALTAZAR REYES GARCIA
CASE NUMBER: 2:16CR00287]LR-003

SCHEDULE OF PAYMENT'S

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 

 

Judgm'en_t- Page '7 of 7

PAYMENT IS DUE lMl\/[EDIATELY. Any unpaid amount shall be paid to
Clerk's Office, United States District Court, 700 Stewart Street, Seattle, WA 98101.

During the period of imprisonment, no less than 25% of their inmate gross monthly income or $25.00 per quarter,
whichever is greater, to be collected and disbursed in accordance with the Inmate Financial Responsibility Program.

During the period of supervised release, in monthly installments amounting to not less than 10% of the defendant's gross
monthly household income,_to commence 30 days after release from imprisonment

n l:i During the period of probation, in monthly installments amounting to not less than 10% of the defendants gross monthly
household income, to commence 30 days after the date of this judgment

The payment schedule above is the minimum amount that the defendant is expected to pay towards the monetary
penalties imposed by the Court. The defendant shall pay more than the amount established whenever possible. The
defendant must notify the Court, the United States Probation Office, and the United States Attorney‘s Office of any
material change in the defendants financial circumstances that might affect the ability to pay restitution

Uniess the court has expressly ordered otheiwise, if this judgment imposes imprisonment payment of criminal monetary
penalties is due during the period of imprisonment All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program are made to the United States District Court,
Western District of Washington. For restitution payments, the Clerk of the Court is to forward money received to the
party(ies) designated to receive restitution specified on the Criminal Monetaries (Sheet 5) page.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed

l:| Joint and Several

Defendant and Co-Defendant Names and Case Numbers (i'nclading defendanrnumber), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate

E| The defendant shall pay the cost of prosecution
The defendant shall pay the following court cost(s):

l:| The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessmentJ (2) restitution principal, (3) restitution interest, (4) fine principai,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties_, and (9) costs, including cost of prosecution and court costs.

